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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION



 RHONDA ENGLIN,
                      Plaintiff,                     CIVIL ACTION FILE
 vs.                                                 NO. 1: 13-CV-4139-\NEJ
 TOTAL RENAL CARE, INC.,
                      Defendant.

                                    JUDGMENT

       This action having come before the court, Honorable Walter E. Johnson, United

States Magistrate Judge, the Court has reviewed the parties' Settlement Agreement and

General Release [33-1] and finds that its terms are fair, reasonable, and satisfactory ..

       The Court APPROVES the settlement and DISMISSES 1:his case WITH

PREJUDICE.

       Dated at Rome, Georgia, this 9th day of January, 2015.



                                                        JAMES N. HATTEN
                                                        CLERK OF COURT


                                                  By:~r1~
                                                        Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  January 9, 2015
James N. Hatten
Clerk of Court

B~~
 Deputy Clerk
